USCA4 Appeal: 07-4115   Doc: 10001       Filed: 11/20/2007     Pg: 1 of 1




                                                             FILED: November 20, 2007


                            UNITED STATES COURT OF APPEALS

                                 FOR THE FOURTH CIRCUIT

                                     ___________________

                                         No. 07-4060
                                     (8:04-cr-00235-RWT)
                                     ___________________


        UNITED STATES OF AMERICA,

                               Plaintiff - Appellee

        v.

        PAULETTE MARTIN, aka Paulette Murphy, aka Paulette Akuffo, aka
        Paula Murphy, aka Auntie,

                               Defendant - Appellant

                                     __________________

                                          O R D E R
                                     ___________________

              Upon consideration of submissions relative to the motion to

        file a supplemental brief, the Court denies the motion. A pro se

        motion for leave to file a supplemental brief must be

        accompanied by the supplemental brief.

                                                      For the Court--By Direction

                                                     /s/Patricia S. Connor, Clerk
